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 4 Irvine, CA 92620
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 5 Facsimile: (949) 333-7778

 6 General Counsel for Chapter 7 Trustee,
   RICHARD A. MARSHACK
 7
                             UNITED STATES BANKRUPTCY COURT
 8
                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 9
    In re                                      Case No. 8:20-bk-13014-SC
10
    NORTHERN HOLDING, LLC,                     Chapter 7
11
                 Debtor.                       CHAPTER 7 TRUSTEE’S COURTESY
12                                             SUBMISSION OF DOCUMENTS
                                               PROVIDED BY CONTEMNOR LEROY E.
13                                             CODDING, IV
14                                                             Continued Hearing
                                                               Date:     January 30, 2024
15                                                             Time:     11:00 a.m.
                                                               Ctrm:     5C
16                                                             Location: United States Bankruptcy Court
                                                                          411 West Fourth Street
17                                                                        Santa Ana, CA 92701-4593
18 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

19 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

20           Richard A. Marshack, the chapter 7 trustee (“Trustee”) of the bankruptcy estate (“Estate”) of
21 Northern Holding, LLC (“Debtor”), submits, solely as a courtesy to self-represented individual

22 LeRoy E. Codding, IV (“Codding”), the attached, partially redacted documents provided by Mr.

23 Codding. The redactions were to remove personal identifying information from the documents. By

24 this filing, Trustee does not endorse the content of the documents.

25    DATED: January 26, 2024                               MARSHACK HAYS WOOD LLP
26                                                          By: /s/ Tinho Mang
                                                                D. EDWARD HAYS
27                                                              TINHO MANG
                                                                Attorneys for Chapter 7 Trustee
28                                                              RICHARD A. MARSHACK

                                                        1
                                      DOCUMENTS PROVIDED BY LEROY E. CODDING
     4890-8353-0894,v.1/1015-146
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1/25/24 Codding declaration for joint update:

-Lender (Jigsaw Investment Partners principal Jeremy
Salamera) confirmed loan and uses of proceeds 1/11/24
including up to $180,000 for Lee Codding businesses
purposes.

- Successor estate trustee docs being executed 2/6.

- Chapter 7 Trustee asked for drop dead payment date: by
2/22; or as soon as proceeds are available is sooner.

- Respectfully request to suspend daily sanction charge

- As previously discussed, I have joint custody of a minor
child with exclusive/sole childcare obligations in the Bay Area
through 12 February. Will not preclude me from moving
documents forward on this loan closing. Jigsaw is in Bay
Area.
If desired, we can get Jeremy to reconfirm.


-Respectfully request to reverse in person for 1/30 or delay if
in person is required.




  Leroy Codding                           1/26/24
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: CHAPTER 7 TRUSTEE’S COURTESY
SUBMISSION OF DOCUMENTS PROVIDED BY CONTEMNOR LEROY E. CODDING, IV will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
January 26, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On January 26, 2024, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                                                       INTERESTED PARTY
 NORTHERN HOLDING, LLC                                                        LEE CODDING
 ATTN: OFFICER, A MANAGING OR GENERAL AGENT,                                  13217 JAMBOREE ROAD, #429
 OR TO ANY OTHER AGENT AUTHORIZED BY                                          TUSTIN, CA 92782
 APPOINTMENT OR LAW TO RECEIVE SERVICE
 13217 JAMBOREE RD #429
 TUSTIN, CA 92782

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on January 26, 2024, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

Email: lecoddingiv@icloud.com
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 26, 2024                         Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     INTERESTED PARTY COURTESY NEF: William H Brownstein Brownsteinlaw.bill@gmail.com
     INTERESTED PARTY COURTESY NEF: Steve Burnell Steve.Burnell@gmlaw.com,
       sburnell@ecf.courtdrive.com; sburnell@ecf.inforuptcy.com; cheryl.caldwell@gmlaw.com;
       denise.walker@gmlaw.com
     INTERESTED PARTY COURTESY NEF: Kevin W Coleman kcoleman@nutihart.com, admin@nutihart.com
     INTERESTED PARTY COURTESY NEF: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;
       goeforecf@gmail.com
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       dmoore@frandzel.com
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       ehays@marshackhays.com, ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com;
       cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com
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       tmang@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
     CHAPTER 7 TRUSTEE RICHARD A MARSHACK: Richard A Marshack (TR) pkraus@marshackhays.com,
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     ATTORNEY FOR INTERESTED PARTY RIBOLI PASO ROBLES, LLC: Victor A Sahn victor.sahn@gmlaw.com,
       vsahn@ecf.courtdrive.com; pdillamar@ecf.courtdrive.com; patricia.dillamar@gmlaw.com,
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     ATTORNEY FOR CHAPTER 7 TRUSTEE RICHARD A MARSHACK: D Kristine A Thagard
       kthagard@marshackhays.com, kthagard@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     US TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
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